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     Federal Defender
2    LEXI P. NEGIN, #250376
     Assistant Federal Defender
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4    Sacramento, CA 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CLIFFORED JOSEF YOUNG
7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 10-cr-222 JAM
                                                  )
11                        Plaintiff,              )   STIPULATION AND (PROPOSED) ORDER
                                                  )   TO EXONERATE PROPERTY BOND
12         v.                                     )
                                                  )
13   CLIFFORD JOSEF YOUNG                         )
     KATHLEEN DOCKSTADER,                         )
14                                                )
                          Defendant.              )   Judge: John A. Mendez
15
16          On September 22, 2010, Magistrate Judge Kendall J. Newman ordered Mr. Young and
17   Ms. Dockstader released on a bond of $75,000 to be secured by real property owned by Frances
18   Jayne, as well as a $75,000 unsecured bond co-signed by Ms. Jayne. Mr. Young and Ms.

19   Dockstader were released subject to conditions and supervision by the Pretrial Services Agency.

20   The collateral was posted on October 26, 2010 and appears on the Court’s docket #34 as DOT

21   from Frances Jaynes, 20100024932 for $75,000.

22          Since their release, Mr. Young and Ms. Dockstader have been in complete compliance
     with all of their conditions of release and they have appeared at all court proceedings as required.
23
     They each entered guilty pleas in July of 2013. Their sentencing has been rescheduled several
24
     times since then to give the probation office time to complete presentence investigation reports in
25
     these cases. The sentencings need to be rescheduled once again and it appears sentencing will
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     not take place until late August.
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1           The parties stipulate and agree that the bond secured by Ms. Jayne’s real property should
2    be exonerated at this time. A proposed order is attached.

3
4    Respectfully submitted,

5
6    DATED: July 11, 2014                         BEN WAGNER
                                                  United States Attorney
7
8                                                 /s/ Paul Hemesath
                                                  PAUL HEMESATH
9
                                                  Assistant United States Attorney
10                                                Attorney for the Government

11
12                                                HEATHER E. WILLIAMS
13                                                Federal Defender

14
                                                  /s/ Lexi Negin
15                                                LEXI NEGIN
                                                  Assistant Federal Defender
16                                                Attorney for CLIFFORD JOSEF YOUNG
17
18                                                /s/ Olaf Hedberg
                                                  OLAF HEDBERG
19                                                Attorney for KATHLEEN DOCKSTADER
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1
                                                 ORDER
2
3           The Court finds that the defendants were released pursuant to a $75,000 bond secured by
     property identified as DOT #20100024932 from Frances Jaynes.
4
            The Court further finds that the defendants are in compliance with all conditions of
5
     pretrial release and that the secured bond is no longer required to assure their appearance in
6
     court. All other conditions of release and bond shall remain.
7
            THEREFORE, it is hereby ORDERED that the $75,000 bond secured by property
8
     identified as DOT #20100024932 from Frances Jaynes is ordered exonerated and that the Clerk
9
     of the Court is directed to reconvey to the surety, Frances Jaynes, the real property that was
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     posted as security in this case.
11
12
     Dated: July 11, 2014
13                                                    _____________________________________
                                                      CAROLYN K. DELANEY
14                                                    UNITED STATES MAGISTRATE JUDGE
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